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                                   Exhibit 1




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                          UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

IN RE                                                 § Confirmed Chapter 11
                                                      §
UNIVERSITY GENERAL HEALTH                             § Case No. 15-31086
SYSTEM, INC. et al.,                                  §
                                                      § Jointly Administered
                         Debtors.                     §
                                                      §

     DECLARATION OF MICHAEL D. WARNER, ESQ., LIQUIDATING TRUSTEE
         IN SUPPORT OF THE LIQUIDATING TRUSTEE’S OBJECTION
             TO THE ADMINISTRATIVE EXPENSE CLAIM FILED
                  BY COMMUNITY PATHOLOGY P.L.L.C.

         I, MICHAEL D. WARNER, ESQ., of full age, hereby declare under penalty of perjury,

pursuant to 28 U.S.C. § 1746, that the following statements made by me in this Declaration are

true and correct to the best of my knowledge, information, and belief, and to the extent that I do

not have firsthand knowledge of certain events, I provide my statements herein based upon my

review of pleadings filed in these Cases:

         1.       I am the Liquidating Trustee appointed for University General Health System,

Inc., et al., pursuant to the Joint Chapter 11 Plan of Liquidation, confirmed pursuant to that

certain Order Confirming Joint Chapter 11 Plan of Liquidation [Docket No. 799], and that

certain Liquidating Trust Agreement, entered into on February 4, 2016, and I am authorized to

make this Declaration in support of the Liquidating Trustee’s Objection (the “Objection”) to the

Administrative Expense Claim (the “Claim”) Filed by Community Pathology P.L.L.C. (the

“Claimant”) [Docket No. 884].1




1
 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
Objection.


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         2.       This Declaration is submitted pursuant to Local Rule 3007-1(b) of the Bankruptcy

Local Rules for the United States Bankruptcy Court for the Southern District of Texas.

         3.       On February 24, 2016, the Claimant filed the Claim in the amount of $22,416.07

[Docket No. 884]. A copy of the Claim is attached hereto as “Exhibit A.”

         4.       I have reviewed the Claim and the documents provided in support thereof and

have concluded that cause exists to expunge the Claim because a portion of the invoices

submitted in support of the Claim (the “40 Day Entries”) are obligations of Foundation and not

the Debtors. Furthermore, the remainder of the invoices submitted in support of the Claim lack

sufficient information to determine whether they are the obligations of Foundation or the Debtors

(the “Disputed Entries”) and the Claimant has therefore failed to establish a prima facie claim

for payment of the Disputed Entries thus warranting their expungement.

         5.       More specifically, pursuant to the Plan Documents, accounts payable related to

the Transferred Assets that became due in the ordinary course of the Debtors’ business within 40

days of the Closing Date (to wit, on or after November 21, 2015) are the sole responsibility of

Foundation.

         6.       The 40 Day Entries, identified on “Exhibit B” to this declaration, aggregate to

$8,383.76 and are the responsibility of Foundation pursuant to the Plan Documents.

         7.       Thus the Claim should be reduced by $8,383.76 to reflect Foundation’s obligation

for the 40 Day Entries.

         8.       The Disputed Entries, identified on “Exhibit C” to this declaration, aggregate to

$14,032.31. The Claim contains insufficient information to determine when the Disputed Entries

became due, since they are for services rendered prior to November 21, 2015 but the invoices on

which they are billed do not contain due dates or net terms.



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         9.       Because the Claimant has failed to substantiate that the Disputed Entries are the

responsibility of the Debtors’ estates, the Trustee objects to the allowance of the Disputed

Entries.

         10.      Thus the Claim should be expunged because the Debtors’ estates are not

responsible for the 40 Day Entries and the Claimant has failed establish that the Debtors’ estates

are responsible for the remaining $14,032.31 in Disputed Entries.

         11.      An omnibus hearing to address the Trustee’s objections to Administrative Claims,

including this Objection, has been scheduled for July 11, 2016 [Docket No. 996].



Dated May 23, 2016
Fort Worth, Texas

                                                      /s/ Michael D. Warner
                                                      Michael D. Warner




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                                   Exhibit A




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                                         IN THE UNITED STATE BANKRUPTCY COURT
                                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                                    HOUSTON DIVISION

IN RE:                                                                 §        CASE NO. 4:15-31086
                                                                       §
UNIVERSITY GENERAL HEALTH                                              §        CHAPTER 11
SYSTEM, INC., et al.                                                   §
                                                                       §        JOINTLY ADMINISTERED
                             DEBTORS1                                  §
                                                                                                                     

               MOTION FOR PAYMENT OF POST-PETITION ADMINISTRATIVE EXPENSE
                       OWED TO COMMUNITY PATHOLOGY P.L.L.C.

              THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT
              YOU. IF YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY
              CONTACT THE MOVING PARTY TO RESOLVE THE DISPUTE. IF
              YOU AND THE MOVING PARTY CANNOT AGREE, YOU MUST FILE
              A RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOU
              MUST FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE
              DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE
              WHY THE MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT
              FILE A TIMELY RESPONSE, THE RELIEF MAY BE GRANTED
              WITHOUT FURTHER NOTICE TO YOU. IF YOU OPPOSE THE
              MOTION AND HAVE NOT REACHED AN AGREEMENT, YOU MUST
              ATTEND THE HEARING. UNLESS THE PARTIES AGREE
              OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE
              HEARING AND MAY DECIDE THE MOTION AT THE HEARING.

              REPRESENTED                                PARTIES   SHOULD      ACT   THROUGH      THEIR
              ATTORNEYS.

              THIS MOTION HAS BEEN SET FOR HEARING ON JANUARY 11, 2016
              AT 1:00PM.


TO THE HONORABLE LETITIA Z. PAUL,
UNITED STATES BANKRUPTCY JUDGE:


                                                            
1
  The Debtors and the last four digits of their respective taxpayer identification numbers are as follows: University
General Health System, Inc. (2436), UGHS Autimis Billing, Inc. (3352), UGHS Autimis Coding, Inc. (3425),
UGHS ER Services, Inc. (6646), UGHS Hospitals, Inc. (3583), UGHS Management Services, Inc. (4100), UGHS
Support Services, Inc. (3511), University General Hospital, LP (7964), and University Hospital Systems, LLP
(3778).
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         Community Pathology, P.L.L.C. (Community Pathology) hereby requests an Order

granting allowance and payment of an administrative expense claim for outstanding fees

invoiced for pathology services provided by Community Pathology to the Debtors, University

General Health System, Inc., UGHS Autimis Billing, Inc., UGHS Autimis Coding, Inc., UGHS

ER Services, Inc., UGHS Hospitals, Inc., UGHS Management Services, Inc., UGHS Support

Services, Inc., University General Hospital, LP, and University Hospital Systems, LLP

(collectively, the “Debtors”). This claim is made pursuant to 11 U.S.C. §503(b)(1)(A), and in

support thereof, Community Pathology respectfully states as follows: 

                                 JURISDICTION AND VENUE

1.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334. This

proceeding is a core proceeding pursuant to 28 U.S.C. §157. Venue is proper in this Court

pursuant to 28 U.S.C. §§1408 and 1409.

2.       The statutory predicate for the relief requested is section 503(b)(1)(A) of Title 11 of the

United States Code (the “Bankruptcy Code”).

                                         BACKGROUND

3.       On February 27, 2015 (the “Petition Date”), Debtors filed a petition for relief pursuant to

Chapter 11 of the Bankruptcy Code (the “Bankruptcy Code”) in the United States Bankruptcy

Court for the Southern District of Texas (the “Court”). Among the other Debtors in this jointly

administered case is University General Hospital, L.P. (UGH LP). UGH LP entered several

agreements with Community Pathology as part of normal business operations, two of which are

the subject of this Application and more fully described below.

4.       Histology Agreement: Prior to the Petition Date, Community Pathology and UGH LP

entered the Histology Processing and Transcription Agreement (“Histology Agreement”), with


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an effective date of September 1, 2006. The purpose of the Histology Agreement was to provide

for quality pathology services at Debtors’ main hospital campus at 7501 Fannin Street, Houston,

Texas at a reasonable cost to its patients, to promote efficient hospital operations, and to meet

legal obligations related to the stabilization and treatment of patients. Under the Histology

Agreement, Community Pathology provided, and continues to provide, specialist physician

services and full-service clinical and administrative services to Debtors and their patients at the

hospital. Specifically, Community Pathology provides clinical and histology transcription

services for the benefit of Debtors’ patients at the hospital.2 Community Pathology bills these

patients (or payors under managed care contracts) directly for the services provided, except in

cases of Medicare, Medicaid and other government-funded inpatient participants. For that group

(Medicare, Medicaid, etc.), Community Pathology bills UGH LP on a monthly basis, who in turn

submits billing on behalf of the patient to the applicable government entity for payment. The

Histology Agreement was extended on two occasions, with a current expiration date of January

31, 2017. The Histology Agreement and its Addendums are attached as Exhibit 1 and are

collectively referred to as the Histology Agreement.

5.            UGH LP did not pay Community Pathology in full for the services provided by

Community Pathology on behalf of the Medicare, Medicaid, and Tricare patients under the

Histology Agreement. As reflected in the Histology Agreement, UGH LP owed significant

amounts at the time of the Petition. And UGH LP continued to fail to meets its payment

obligations to Community Pathology post-Petition. Invoices for the time period of March 2015-

September 2015 have been presented to UGH LP, for a total amount of $68,981.55 due and

owing post-Petition Date. No payments have been made on this account since the Petition Date,

                                                            
2
 Histology is the science concerned with the minute structure of tissues and organs in relation to their function.
Histology typically involves examination of a thin slice of tissue under a light microscope.

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leaving the balance of $68,981.55 to be paid as an administrative expense to Community

Pathology. A summary of the March 2015-September 2015 invoices and the redacted invoices

are attached as Exhibit 2.3

6.            PSA: Community Pathology and UGH, LP also entered a Professional Services

Agreement (“PSA”), effective on August 1, 2011. Under the PSA, Community Pathology was

retained to provide pathology services at Debtor’s main hospital campus at 7501 Fannin Street,

Houston, Texas for a term of five (5) years. The PSA further provides for a Medical Director of

Services, provided by Community Pathology, who is to provide oversight and administration of

the clinical pathology services performed. While the PSA generally provides for UGH LP and

Community Pathology to independently bill patients and each collect the charges due to them,

with respect to services provided on behalf of Medicare/Medicaid patients, the parties agreed to a

Medical Director Fee (“Fee”) of $2,500 per month to be paid by UGH LP to Community

Pathology.                This Fee specifically covers the oversight and administration of the clinical

pathology services performed by the hospital laboratory on behalf of the Medicare/Medicaid

patients. The Fee is to be paid monthly and is due within thirty (30) days of the prior month’s

admissions. The PSA is filed under seal as Exhibit 3.

7.            UGH LP has failed to pay in full for the Medical Director services provided by

Community Pathology. UGH LP was past-due on its payments prior to the Petition Date and has

continued to fail to meet its post-Petition obligations. Post-Petition invoices for March 2015-

November 2015 have been presented to UGH LP, for a total amount of $22,500 invoiced since

the Petition Date. UGH LP paid only $7,500 on this account, leaving a balance of $15,000




                                                            
3
    Redactions were made for Protected Health Information (PHI).

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payable as an administrative expense to Community Pathology. These invoices are attached as

Exhibit 4.

8.       Debtors agree that UGH LP is in default of its post-Petition obligations under the PSA

and General Histology Agreements. UGH LP does not dispute the total amounts currently due, of

$68,981.55 and $15,000.00, for a total of $83,981.55. UGH LP agrees these amounts should be

paid as an administrative expense claim to Community Pathology.

9.       Community Pathology and UGH LP agree that UGH LP will satisfy these administrative

expense claims within five (5) days of an order being entered granting this application,

whichever occurs later.

                           RELIEF REQUESTED AND ANALYSIS

10.      As a result of the PSA and Histology Agreement and Community Pathology’s continued

provision of pathology services post-Petition according to these agreements, Debtors continued

to provide clinical pathology services to patients at its main hospital campus during the pendency

of the Chapter 11 proceeding in this Court. In other words, the hospital operated without any

interruption in the pathology services that would have otherwise been furnished to its patients or

medical staff by virtue of its agreements with Community Pathology.

11.      By this Application, Community Pathology and UGH LP request the entry of an Order

approving the parties agreement to pay Community Pathology’s administrative expense claim

pursuant to section 503(b)(1) of the Bankruptcy Code for the services it provided under the PSA

and General Histology agreements (the “Administrative Expense”).

12.      Section 503(b)(1)(A) of the Bankruptcy Code provides, in pertinent part:

                After notice and a hearing, there shall be allowed, administrative
                expenses, other than claims allowed under section 502(f) of this
                title, including—


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               (1) (A) the actual, necessary costs and expenses of preserving the
                   estate including—

               (i)     wages, salaries, and commissions for services rendered
                       after the commencement of the case; and

                                             ***
14.      To qualify as an “actual and necessary cost” under § 503(b)(1)(A) of the Bankruptcy

Code, a claim against the estate “must have arisen post-petition and as a result of actions taken

by the trustee that benefitted the estate.” In re Home Interiors & Gifts, Inc., No. 08-31961-11-

BJH, 2008 WL 4772102, at *4 (Bankr. N.D. Tex. Oct. 9, 2008). “A prima facie case [entitling

the creditor to payment] under § 503(b)(1) may be established by evidence that (1) the claim

arises from a transaction with the debtor-in-possession; and (2) the goods or services supplied

enhanced the ability of the debtor-in-possession’s business to function as a going concern.”

Toma Steel Supply, Inc. v. TransAmerican Natural Gas Corp. (In re TransAmerican Natural Gas

Corp.), 978 F.2d 1409, 1416 (5th Cir. 1992). It is undisputed that the administrative expenses

sought here arise from post-petition transactions between Community Pathology and Debtors. A

claimant’s performance of a pre-petition contract and the debtor’s acceptance of that

performance establishes a post-petition transaction. See, e.g., In re Goody’s Family Clothing,

Inc., 401 B.R. 656, 671 (D. Del. 2009) (citing In re White Motor Corp., 831 F.2d 106, 110 (6th

Cir. 1987)). As indicated above, Community Pathology’s services enhanced the Debtors’ ability

to function as a going concern by ensuring the continued provision of clinical pathology services

for patients cared for at its main hospital campus.

15.      Community Pathology’s post-petition Services under the PSA and General Histology

Agreements constitute “actual and necessary costs” of the estate and, therefore, are entitled to

priority before other, unsecured nonpriority claims. See § 507(a)(1); Total Minatome Corp. v.

Jack/Wade Drilling, Inc. (In re Jack/Wade Drilling, Inc.), 258 F.3d 385, 387 (5th Cir. 2001).

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16.      Community Pathology and Debtors agree that the invoice amounts evidence the

reasonable value of the services provided under the agreements.

         WHEREFORE, Community Pathology, P.L.L.C. requests entry of an Order: (i)

allowing it an Administrative Expense Claim in the total amount of $83,981.55 pursuant to

section 503(b)(1) of the Bankruptcy Code; (ii) directing the Debtors to pay Community

Pathology, P.L.L.C.’s Administrative Expense Claim within five (5) days of the Court’s order

granting this application, and prior to any distribution or payment by the Debtors to holders of

claims that are junior in priority to the Administrative Expense pursuant to section 507 of the

Bankruptcy Code; and (iii) such other and further relief as is just and equitable.

DATED: December 17, 2015

                                                      Respectfully submitted,

                                                      FERNELIUS ALVAREZ SIMON PLLC

                                                      By /s/ Graig J. Alvarez

                                                          Graig J. Alvarez
                                                          Attorney-in-Charge
                                                          State Bar No. 24001647
                                                          Federal I.D. No. 22596
                                                          1221 McKinney, Suite 3200
                                                          Houston, Texas 77010-3095
                                                          Email: galvarez@fa-lawfirm.com
                                                          Kara Stauffer Philbin
                                                          State Bar No. 24056373
                                                          Federal I.D. No. 685342
                                                          Email: kphilbin@fa-lawfirm.com
                                                          Telephone: 713-654-1200
                                                          Telecopier: 713-654-4039

                                                          ATTORNEYS FOR
                                                          Baylor College of Medicine,
                                                          Baylor Pathology Consultants, and
                                                          Community Pathology, P.L.L.C.



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                                CERTIFICATE OF SERVICE

       I hereby certify that all attorneys of record who have consented to electronic service are
being served this 17th day of December, 2015, with a true and correct copy of this document via
the Court’s CM/ECF system, and that this motion was otherwise served by ECF or first-class
United State mail.

                                                       /s/ Kara Stauffer Philbin
                                                          Kara Stauffer Philbin




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Summary of Histology Administrative Expense Claim Payable to

Community Pathology P.L.L.C.

      Month                      Amount Due                Claim Amount
      Statement dated 6/30/15    $8,266.65                 $8,266.65
      for March 2015 amounts
      Statement dated 6/30/15    $8,388.15                 $8,388.15
      for April 2015 amounts
      Statement dated 6/30/15    $10,310.39                $10,310.39
      for April & May 2015
      amounts
      Statement dated 7/31/15    $8,923.73                 (– 454.71) = $8,469.02
      for June 2015                                        (subtraction for pre-
                                                           petition amounts)
      Statement dated 8/31/15    $8,395.50                 $8,395.50
      for July 2015
      Statement dated 9/30/15    $8,937.04                 $8,937.04
      for August 2015
      September 2015             $7,745.78                 $7,745.78

      Balance Due                $69,436.26                $68,981.55 balance due




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                                  Date          Amount
                               12/28/2015        $33.38
                               12/28/2015        $33.38
                               12/28/2015        $71.22
                               12/24/2015        $45.37
                               12/24/2015        $71.22
                               12/22/2015        $87.00
                               12/22/2015        $33.38
                               12/22/2015        $55.88
                               12/22/2015        $33.38
                               12/22/2015        $33.38
                               12/22/2015        $8.15
                               12/22/2015        $8.15
                               12/22/2015        $45.37
                               12/22/2015        $71.22
                               12/18/2015        $70.00
                               12/18/2015        $33.38
                               12/18/2015        $33.38
                               12/18/2015        $33.38
                               12/18/2015        $33.38
                               12/18/2015        $33.38
                               12/18/2015        $8.15
                                12/3/2015        $33.38
                                12/3/2015        $33.38
                                12/3/2015        $33.38
                                12/3/2015        $33.38
                                12/3/2015        $8.15
                                12/3/2015        $8.15
                                12/3/2015        $8.15
                                12/3/2015        $8.15
                                12/8/2015        $33.38
                                12/8/2015        $71.22
                               12/11/2015        $33.38
                               12/11/2015        $33.38
                               12/11/2015        $33.38
                               12/11/2015        $8.15
                               12/11/2015        $8.15
                               12/11/2015        $8.15


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                                  Date          Amount
                               12/22/2015        $33.38
                               12/22/2015        $71.22
                               12/22/2015        $33.38
                               12/19/2015        $45.37
                               12/19/2015        $71.22
                               12/19/2015        $45.37
                               12/19/2015        $71.22
                               12/19/2015        $33.38
                               12/19/2015        $33.38
                               12/19/2015        $33.38
                               12/19/2015        $71.22
                               12/19/2015        $71.22
                               12/21/2015        $33.38
                               12/21/2015        $33.38
                               12/21/2015        $71.22
                               12/18/2015        $45.37
                               12/18/2015        $45.37
                               12/18/2015        $71.22
                               12/18/2015        $71.22
                               12/17/2015        $45.37
                               12/17/2015        $33.38
                               12/17/2015        $45.37
                               12/18/2015        $45.37
                               12/18/2015        $29.46
                               12/18/2015        $71.22
                               12/18/2015        $45.37
                               12/18/2015        $71.22
                               12/14/2015        $33.38
                               12/17/2015        $45.37
                               12/17/2015        $71.22
                               12/14/2015        $33.38
                               12/14/2015        $8.15
                               12/14/2015        $33.38
                               12/14/2015        $71.22
                               12/14/2015        $46.13
                               12/15/2015        $70.00
                               12/11/2015        $29.00
                               12/11/2015        $33.38


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                                  Date          Amount
                               12/11/2015        $71.22
                                12/9/2015        $45.37
                                12/9/2015        $71.22
                                12/9/2015        $70.00
                                12/9/2015        $71.22
                               12/10/2015        $33.38
                               12/10/2015        $33.38
                               12/10/2015        $33.38
                               12/10/2015        $33.38
                               12/10/2015        $33.38
                               12/10/2015        $33.38
                               12/10/2015        $33.38
                               12/10/2015        $33.38
                               12/10/2015        $33.38
                               12/10/2015        $33.38
                               12/10/2015        $33.38
                                12/8/2015        $33.38
                                12/8/2015        $71.22
                                12/7/2015        $33.38
                                12/7/2015        $33.38
                                12/7/2015        $71.22
                                12/7/2015        $70.00
                                12/4/2015        $33.38
                                12/4/2015        $33.38
                                12/4/2015        $71.22
                                12/4/2015        $71.22
                                12/4/2015        $33.38
                                12/4/2015        $71.22
                                12/4/2015        $33.38
                                12/4/2015        $71.22
                                12/4/2015        $33.38
                                12/4/2015        $8.15
                                12/4/2015        $33.38
                                12/4/2015        $71.22
                                12/2/2015        $33.38
                                12/1/2015        $45.37
                                12/1/2015        $45.37
                                12/1/2015        $71.22


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                               11/24/2015        $33.38
                               11/24/2015        $33.38
                               11/24/2015        $33.38
                               11/24/2015        $71.22
                               11/24/2015        $33.38
                               11/24/2015        $71.22
                               11/30/2015        $33.38
                               11/25/2015        $33.38
                               11/25/2015         $8.15
                               11/25/2015        $33.38
                               11/25/2015        $33.38
                               11/25/2015        $71.22
                               11/24/2015        $33.38
                               11/24/2015        $33.38
                               11/25/2015        $45.37
                               11/25/2015        $71.22
                               11/25/2015        $71.22
                               11/24/2015        $33.38
                               11/24/2015        $71.22
                               11/24/2015        $33.38
                               11/24/2015        $71.22
                               11/25/2015        $45.37
                                1/20/2016       $2,500.00

                                 Total:         $8,383.76




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                                6/9/2015     $71.22
                               9/25/2015     $87.00
                               9/24/2015     $71.00
                               9/24/2015     $71.00
                               9/24/2015     $71.00
                               9/24/2015     $71.00
                              11/18/2015     $45.37
                              11/18/2015     $45.37
                              11/14/2015     $45.37
                              11/14/2015     $45.37
                              11/14/2015     $71.22
                              11/14/2015     $71.22
                               10/8/2015     $33.38
                              10/26/2015     $45.37
                              10/26/2015     $71.22
                              10/28/2015     $73.00
                              10/28/2015     $22.97
                              10/28/2015     $33.38
                              10/20/2015     $33.38
                              10/27/2015     $33.38
                              10/27/2015     $33.38
                              10/27/2015     $71.22
                              10/27/2015     $71.22
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                              10/29/2015     $71.22
                              10/29/2015     $71.22
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                              10/29/2015     $33.38
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                                 Date       Amount
                              10/29/2015     $33.38
                              10/29/2015     $33.38
                              10/29/2015     $71.22
                              10/29/2015     $71.22
                              10/29/2015     $33.38
                              10/29/2015     $33.38
                              10/30/2015     $33.38
                              10/30/2015     $33.38
                              10/30/2015     $33.38
                              10/30/2015     $71.22
                              10/30/2015     $71.22
                              10/30/2015     $33.38
                              10/30/2015     $71.22
                              10/30/2015     $33.38
                              10/30/2015     $33.38
                              10/30/2015     $71.22
                              11/20/2015     $33.38
                              11/20/2015     $71.22
                              11/20/2015     $8.15
                               11/2/2015     $33.38
                               11/2/2015     $71.22
                               11/2/2015     $33.38
                               11/2/2015     $71.22
                               11/2/2015     $33.38
                               11/2/2015     $71.22
                               11/2/2015     $33.38
                               11/2/2015     $71.22
                               11/2/2015     $71.22
                              10/21/2015     $33.38
                              10/21/2015     $8.15
                              10/30/2015     $33.38
                              10/30/2015     $33.38
                              10/30/2015     $8.15
                              10/30/2015     $8.15
                               11/2/2015     $10.20
                               11/4/2015     $33.38
                               11/4/2015     $8.15
                               11/1/2015     $33.38
                               11/1/2015     $71.22
                               11/2/2015     $24.18


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                                 Date       Amount
                               11/2/2015     $24.18
                              11/11/2015     $33.38
                              11/11/2015     $71.22
                              11/10/2015     $33.38
                               11/9/2015     $33.38
                               11/9/2015     $33.38
                               11/9/2015     $8.15
                               11/9/2015     $8.15
                              11/11/2015     $33.38
                              11/11/2015     $71.22
                              11/12/2015     $33.38
                              11/12/2015     $33.38
                              11/12/2015     $33.38
                              11/12/2015     $71.22
                              11/12/2015     $71.22
                               11/9/2015     $45.37
                               11/9/2015     $45.37
                               11/9/2015     $45.37
                               11/9/2015     $29.46
                               11/9/2015     $71.22
                               11/9/2015     $71.22
                               11/9/2015     $71.22
                              11/18/2015     $70.00
                              11/18/2015     $70.00
                              11/18/2015     $70.00
                              11/18/2015    $110.00
                              11/18/2015    $110.00
                              11/18/2015    $110.00
                              11/18/2015     $75.00
                              11/18/2015     $75.00
                              11/18/2015     $33.38
                              11/18/2015     $33.38
                              11/18/2015     $33.38
                              11/20/2015     $29.00
                              11/20/2015     $29.00
                              11/20/2015     $29.00
                              11/20/2015     $29.00
                              11/20/2015     $29.00
                              11/20/2015     $29.00
                              11/20/2015     $73.00


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                                 Date       Amount
                              11/20/2015     $33.38
                              11/20/2015     $22.97
                              11/20/2015     $33.38
                              11/20/2015     $71.22
                              11/20/2015     $33.38
                              11/17/2015     $33.38
                              11/17/2015     $33.38
                              11/17/2015     $8.15
                              11/17/2015     $8.15
                              11/16/2015     $33.38
                              11/16/2015     $33.38
                              11/16/2015     $71.22
                              11/13/2015     $33.38
                              11/13/2015     $33.38
                              11/13/2015     $33.38
                              11/16/2015     $70.00
                              11/13/2015     $70.00
                              11/13/2015     $33.38
                              11/18/2015     $70.00
                              11/11/2015     $33.38
                              11/11/2015     $8.15
                              11/17/2015     $33.38
                              11/17/2015     $71.22
                               11/6/2015     $33.38
                               11/6/2015     $71.22
                               11/6/2015     $45.37
                               11/6/2015     $45.37
                               11/6/2015     $71.22
                               11/6/2015     $71.22
                               11/6/2015     $33.38
                               11/6/2015     $33.38
                               11/6/2015     $33.38
                               11/6/2015     $71.22
                               11/4/2015     $33.38
                               11/4/2015     $45.37
                               11/9/2015     $33.38
                               11/9/2015     $71.22
                               11/9/2015     $33.38
                               11/9/2015     $33.38
                               11/9/2015     $33.38


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                                 Date       Amount
                               11/9/2015     $71.22
                               11/9/2015     $71.22
                               11/9/2015     $33.38
                              11/10/2015     $45.37
                              11/10/2015     $71.22
                              11/10/2015     $45.37
                              11/10/2015     $71.22
                              11/10/2015     $45.37
                              11/10/2015     $71.22
                              11/10/2015     $33.38
                               11/9/2015     $33.38
                               11/9/2015     $33.38
                               11/9/2015     $71.22
                               11/9/2015     $71.22
                               11/9/2015     $70.00
                               11/9/2015     $70.00
                              11/20/2015     $33.38
                               10/5/2015    $115.00
                               10/5/2015     $39.19
                               10/5/2015     $39.19
                               10/5/2015     $75.00
                               10/5/2015     $33.38
                               10/5/2015     $39.19
                               10/5/2015     $33.38
                               10/5/2015     $33.38
                               10/5/2015     $33.38
                              10/14/2015     $45.37
                               10/2/2015     $33.38
                               10/2/2015     $71.22
                               10/2/2015     $33.38
                               10/2/2015     $95.00
                              10/21/2015     $45.37
                              10/21/2015     $45.37
                              10/21/2015     $71.22
                              10/21/2015     $45.37
                              10/21/2015     $45.37
                              10/21/2015     $71.22
                              10/21/2015     $29.46
                              10/19/2015     $33.38
                              10/20/2015     $33.38


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                                 Date       Amount
                              10/20/2015     $71.22
                              10/16/2015     $33.38
                               10/2/2015     $33.38
                               10/5/2015     $45.37
                               10/5/2015     $33.38
                               10/5/2015     $33.38
                               10/5/2015     $33.38
                               10/5/2015     $45.37
                               10/5/2015     $33.38
                               10/5/2015     $33.38
                               10/5/2015     $0.00
                               10/5/2015     $0.00
                              10/20/2015     $24.18
                              10/19/2015     $45.37
                              10/19/2015     $45.37
                              10/19/2015     $29.46
                              10/19/2015     $71.22
                              10/19/2015     $45.37
                              10/19/2015     $71.22
                               10/9/2015     $70.00
                               10/9/2015     $33.38
                               10/9/2015     $8.15
                              10/14/2015     $45.37
                              10/14/2015     $45.37
                              10/14/2015     $71.22
                              10/14/2015     $71.22
                               10/7/2015     $33.38
                              10/12/2015     $33.38
                               10/6/2015     $45.37
                               10/6/2015     $71.22
                               10/6/2015     $45.37
                               10/6/2015     $71.22
                               10/6/2015     $45.37
                               10/6/2015     $71.22
                               10/7/2015     $33.38
                               10/7/2015     $71.22
                               10/7/2015     $33.38
                               10/7/2015     $71.22
                               10/6/2015     $33.38
                               10/8/2015     $45.37


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                                 Date       Amount
                               10/8/2015     $45.37
                               10/8/2015     $29.46
                               10/8/2015     $71.22
                               10/8/2015     $71.22
                               10/8/2015     $71.22
                               10/8/2015     $33.38
                               10/8/2015     $33.38
                               10/8/2015     $45.37
                               10/8/2015     $71.22
                               10/9/2015     $33.38
                               10/9/2015     $71.22
                               10/9/2015     $33.38
                               10/9/2015     $33.38
                               10/9/2015     $71.22
                               10/9/2015     $71.22
                               10/8/2015     $33.38
                               10/9/2015     $33.38
                               10/9/2015     $71.22
                               10/2/2015     $33.38
                               10/2/2015     $71.22
                              10/21/2015     $33.38
                              10/22/2015     $45.37
                              10/22/2015     $71.22
                              10/22/2015     $33.38
                              10/22/2015     $33.38
                              10/21/2015     $70.00
                              10/21/2015     $70.00
                              10/21/2015     $71.22
                              10/12/2015     $29.00
                              10/12/2015     $29.00
                              10/12/2015     $29.00
                              10/12/2015     $29.00
                              10/12/2015     $29.00
                              10/12/2015     $33.38
                              10/12/2015     $45.37
                              10/12/2015     $55.88
                               10/2/2015     $33.38
                               10/2/2015     $33.38
                              10/16/2015     $33.38
                              10/16/2015     $8.15


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                                 Date          Amount
                              10/12/2015        $33.38
                              10/12/2015        $71.22
                              10/12/2015        $33.38
                              10/12/2015        $33.38
                              10/12/2015        $33.38
                              10/12/2015        $71.22
                              10/23/2015        $33.38
                              10/23/2015        $33.38
                              10/23/2015        $33.38
                              10/23/2015        $33.38
                              10/23/2015        $33.38
                              10/23/2015        $33.38
                              10/21/2015        $70.00
                              10/21/2015        $8.15
                              10/23/2015        $33.38
                              10/23/2015        $8.15
                              10/26/2015        $33.38
                              10/26/2015        $45.37
                              10/26/2015        $33.38
                              10/26/2015        $71.22
                              10/22/2015        $33.38
                              10/22/2015        $73.27
                              10/23/2015        $33.38
                              10/26/2015        $33.38
                              10/26/2015        $71.22
                              10/26/2015        $33.38

                                Total:        $14,032.31




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